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Exhibit A
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OSWIADCZENIE POD PRZYSIEGA

Ja nizej podpisana Maria Trwoga, z domu Janik (urodzona 12 luty 1983 r. w Lezajsku), pod
grozba odpowiedzialnosci karnej za sktadanie fatszywych zeznan oswiadczam, jak nastepuje:

10.

11.

. Zostatam wskazana, jako ofiara przestepstwa, jakie mialo mie¢ miejsce w dniu 16 maja

2001 r.;
Sprawcy w _ osobach Piotra Grabowskiego oraz Ireneusza Zagaja zarzucanego
przestepstwa zostali osadzeni i skazani za przestepstwo przeciwko wolnosci seksualnej;

. Piotr Grabowski zostat skazany wyrokiem Sadu Okregowego w Rzeszowie z dnia 3

pazdziernika 2001 r. w sprawie 0 sygnaturze akt I] K 54/01;

Wyrok skazujacy Piotra Grabowskiego zostat podtrzymany przez Sad Apelacyjny w
Rzeszowie wyrokiem z dnia 20 grudnia 2001 r. w sprawie o sygnaturze akt IT AKa
161/01;

Do zawiadomienia 0 przestepstwie zarzucanym Piotrowi Grabowskiemu i Ireneuszowi
Zagaja sugerowata moja mama Janina Janik;

W rzeczywistosci czyn zarzucany bedacy przedmiotem postepowania przez wskazanymi
sadami zostat popetniony przez Ireneusza Zagaj¢ a udziat Piotra Grabowskiego w
zdarzeniu byt nieistotny i zostat nieprawidlowo ustalony przez Sad Okregowy jak i
Apelacyjny;

W trakcie postepowania przed Sadem Okregowym w trakcie moich zeznan w dniu 7
wrzesnia 2001 r. zeznalam prawde tj., ze czynnosci seksualne z udzialem Piotra
Grabowskiego odbyty sie za moja zgoda. Dopiero pdzniejszy czyn jakiego dopuscil si¢
Ireneusz Zagaja byt przeciwko mojej woli za co zostat stusznie skazany;

Moje zeznania ztozone na policji w dniu 17 maja 2001 r. zostaty zlozone po czesci, aby
zachowaé twarz w sytuacji, w kt6rej sie znalaztam. Moja mama proponowala abym
wskazatla Piotra Grabowskiego jako wspdélsprawce. Jego rodzina byla bogata i znana w
miejscowosci, gdzie mieszkalam;

Swoje zeznania chciatlam zmieni¢ jeszcze przed wszczeciem postepowania przed sadem.
Nie pozwolit mi jednak na to prokurator prowadzacy sprawe Lucyna Petka, kt6ra
powiedziata mi, co okazato sie nieprawda, ze nie moge zmieni¢ zeznan jakie ztozytam na
policji;

Pani prokurator pouczyla mnie, ze istnieje mozliwosé, ze moze oskarzy¢ mnie o
sktadanie fatszywych zeznan, ktére zostaly zlozone w obecnosci funkcjonariusza policji,
w przypadku zmiany zeznan w pdzniejszym etapie postepowania.

W trakcie postepowania przed Sadem uznatam jednak, ze musze przeciwstawi¢ si¢
zewnetrznym naciskom i powiedzieé sadowi prawde, ze Piotr Grabowski nie popetnit
ezynu, jaki zostat mu postawiony. Moje zmienione zeznania nie przyniosty niestety
skutku.

 
 

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. Kiedy dowiedziatam sig, Ze Piotr Grabowski wyjechal do USA uznalam, ze nic mu juz
nie grozi, ze jest bezpieczny i ze nie bedzie musial niestusznie odbyé wyrok wowezas nie
podejmowatam dalszych dzialan, aby go uniewinnic¢; '

.Obecnie jednak wiem, ze toczy sig postepowanie ekstradycyjne wobec Piotra
Grabowskiego i nie chee, aby spotkata go w Polsce niesprawiedliwose;

_Z tego tez wzgledu chee ponownie podkresli¢ i o$wiadezyé, ze Piotr Grabowski nie jest
winien czynu zarzucanego mu w wyrokach skazujacych Sqadu Okregowego w Rzeszowie
i Sadu Apelacyjnego w Rzeszowie;

.Do pomocy w przygotowaniu niniejszego oswiadezenia wynaj¢lam niezaleznego
Adwokata w osobie Piotra Chmiel, aby pomég! mi w udzieleniu pomocy Piotrowi
Grabowskiemu w postepowaniu w USA.

Mona Jno or
Maria Trwoga

 

 
 

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KANCELARIA NOTARIALNA
Sfawomir Szeliga
NOTARIUSZ
37-300 Lezajsk, pl. Targowy 1
tel. 17 867 42 27, kom. 694 335 594
NIP: 816-166-30-75, REGON: 389678472 :

 

Repertorium A numer 1692/2020

NOTARIUSZ SLAWOMIR SZELIGA PROWADZACY KANCELARIE NOTARIALNA W LEZAJSKU
PRZY PLACU TARGOWYM 1 (37-300 LEZAJSK)
Dnia drugiego pazdziernika dwa tysiace dwudziestego roku (02-10-2020) w prowadzonej przeze mnie
Kancelarii Notarialnej w Lezajsku przy Placu Targowym 1
poswiadezam, ze tego dnia na niniejszym dokumencie: oswiadczeniu pod przysiggq-----------------------------------
W mojej obecnosci, w prowadzonej przeze mnie kancelarii, zlozyta wlasnoreczny podpis: -----------------------------
| Maria Trwoga, corka Jozefa i Janiny, wedtug oSwiadczenia zamieszkata w miejscowosci Stare Miasto numer
Be 329 A (37-300 Lezajsk), legitymujgca sig dowodem osobistym numer CHC 522855 — waznego do dnia
i “ cg en 2028 roku, posiadajaca numer PESEL 83021217626,
pany) tozsamosé stwierdzitem na podstawie powolanego wyZej dowodu osobiste go, -------------=-amnnnnnennnnnmnnne
s “Potiralem:
’ y tulem taksy notarialnej na podstawie przepisu § 13 pkt 1) lit. b) rozporzadzenia Ministra Sprawiedliwosci
Ads

 

 

 

     

 

Inia 28 czerwca 2004 r. w sprawie maksymalnych stawek taksy notarialnej (tj. Dz.U. z 2020 r. poz. 1473)
ote: 16,26 ztotych,
Y) tytulem podatku od towarow i ustug na podstawie przepisu art. 41 ust. 1 oraz art. 146aa ust. 1 pkt 1) ustawy
z dnia 11 marca 2004 roku o podatku od towaréw i ustug (t.j. Dz.U. z 2020 r. poz. 106 z pézh. zm.) kwote:
3,74 ztotych.

Lacznie pobratem kw,

 

 

 

  
      

—NOTARIUSZ
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iy fe
SS
; APOSTILLE "
(Convention de La Haye du 5 octobre 1961)

1, Patistwo / Country: Rzeczpospolita Polska

Niniejszy dokument urzedowy / This public document
2. podpisany zostat przez Tadeusz Strzyz

has been signed by
3. dziatajacego w charakterze

acting in the capacity of Prezes

 

4. zaopatrzony jest w pieczeé/stempel
bears the seal/stamp of Prezes Sadu Okregowego w
Rzeszowie

Pogwiadezony | Certified
5. w/ at Warszawa 6. dnia// the. 2020-10-15
. przez / by Ministerstwo Spraw. Zagranicznych
. Nr / N°40146/2020

 
 
  

 

~- 40. Podpis:
Signatures fos deo eon
Hele fatdé. | rae|l
DEPARTAIVENT KONSULAGNY

 

 

 
Case 3:20-mc-O0068 AWG ERO SMa UN KARdiied 10/27/20 Page 8 of 10

Certified Translator and Court Interpreter of English, Reg. No. TP/101/14

 

CERTIFIED TRANSLATION FROM THE POLISH LANGUAGE

[A document on two pages, with signature certified by a notary, with notary’s stamps]

AFFIDAVIT
(DECLARATION MADE UNDER OATH)

I, the undersigned Maria Trwoga, surname at birth Janik (born on 12 February 1983 in Lezajsk) aware of
penalty for perjury, hereby declare as follows: .

1,
2.

10.

11.

12.

13.

14.

I was indicated as the victim of a crime which occurred on 16 May 2001;

Perpetrators of the alleged crime, namely Piotr Grabowski and Ireneusz Zagaja were convicted for a
crime against sexual freedom;

Piotr Grabowski was sentenced by the judgement of the Regional Court in Rzesz6w on 3 October 2001
in the case file No II K 54/01;

The judgement of conviction regarding Piotr Grabowski was upheld by the Court of Appeal in Rzeszow,
in a judgement dated 20 December 2001, case file No II Aka 161/01;

My mother Janina Janik suggested that I should notify about the crime allegedly committed by Piotr
Grabowski and Ireneusz Zagaja;

In fact, the criminal act which was the subject of proceedings before these courts was committed by
Ireneusz Zagaja while the participation of Piotr Grabowski in this occurrence was insignificant, and was
wrongly assessed by the Regional Court and by the Court of Appeal;

During the proceedings before the Regional Court, during my testimony on 7 September 2001 I said the
truth, namely that the sexual act with Piotr Grabowski was with my consent. Only the act committed
later by Ireneusz Zagaja was against my will and he was rightly convicted for this;

I gave my testimony at the police station on 17 May 2001 in part to maintain my dignity in the situation
in which I ended. My mother suggested that I should indicated Piotr Grabowski as an accomplice. His
family was rich and well known in the town where I lived;

I wanted to change my testimony even before the proceedings were instigated by the court. But Lucyna
Petka, the public prosecutor who conducted this case did not allow for this. She misinformed me that I
cannot change the testimony made at the police station;

Mrs Prosecutor informed me that there is a possibility that she may accuse me of giving false testimony
in the presence of a police officer if I change my testimony at a later stage of proceedings.

However, during the proceedings before the Court I decided that I must resist external pressure and tell
the truth to the court, namely that Piotr Grabowski did not commit the act that he was accused of.
Unfortunately, my changed testimony did not bring any effects.

When I found out that Piotr Grabowski left for the US, I decided that he is safe now and that he will not
have to go to prison unjustifiably, so I did not undertake any further actions to ensure that he is declared
innocent.

However, now I know that extradition proceedings are pending against Piotr Grabowski and I do not
want him to face injustice in Poland.

Therefore, I want to stress again and declare again that Piotr Grabowski is not guilty of committing the,
crimes he was convicted for in judgements issued by the Regional Court in Rzeszéw and inthe Court of

Appeal in Rzeszow;
Page 1 of 2 \,

 
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Certified Translator and Court Interpreter of English, Reg. No. TP/101/14

 

15. In order to produce this affidavit I hired an independent attorney-at-law Piotr Chmiel, who assisted me in
helping Piotr Grabowski in the proceedings pending in the USA.

é
[A handwritten signature] Maria Trwoga

Maria Trwoga
[On the third page:]

[A rectangular stamp:] KANCELARIA NOTARIALNA (NOTARY’S OFFICE) SLAWOMIR SZELIGA,
NOTARY, 37-300 Lezajsk, pl. Targowy 1, phone No 17 867 42 27, mobile: 694 335 591, tax ID No 816-166-
30-75; statistical ID No (REGON): 380678472

Repertory A number 1691/2020
SLAWOMIR SZELIGA, Notary in his notarial office in Lezajsk, at Plac Targowy 1 (37-300 Lezajsk)

On the second day of October two thousand twenty (02-10-2020) in my notarial office in Lezajsk at Plac
Targowy !, I hereby certify that on this day the document entitled “Affidavit”, in my presence, in my notarial
office, her handwritten signature was affixed by:

Maria Trwoga, daughter of Jozef and Janina, according to her statement residing in Stare Miasto number 329
A (37-300 Lezajsk), holder of an ID card number CHC 522855, valid through 5 April 2028, personal identity
number (PESEL) 83021217626,

ant

Whose identity was confirmed by my on the basis of her ID card. ie “itp
I collected:

1) A notarial fee under Article 13 point 1) b) of the Regulation of the Minister of Justice of 28 June 2004 on
the maximum rates of notarial fees (uniform text Journal of Laws of 2020, item 1473) in an amount of
PLN 16.26;

2) Tax on goods and services under Article 41 paragraph 1, and Article 146aa paragraph 1 point 1) of the
Act on Tax on Goods and Services of 11 March 2004 (uniform text Journal of Laws of 2020, item 106 as
amended) in an amount of PLN 3.74.

Total collected amount: PLN 20.00.

[A round seal with the national emblem of Poland in the centre and an inscription in the rim:] SLAWOMIR
SZELIGA, NOTARY IN LEZAJSK *1*

[A rectangular stamp and signature] Stawomir Szeliga, Notary

[A rectangular stamp:] Legalisation No 225/20, I hereby certify that the signature of Slawomir Szeliga, a
notary in Lezajsk, and the official seal of the notary in Lezajsk are true and valid. Stamp duty of 26 PLN was
paid. Rzeszéw, 8 October 2020.

[A round seal with the national emblem of Poland in the centre and an inscription in the rim:] Head of the
Regional! Court in Rzeszow *2*

[A rectangular stamp:] TADEUSZ STRZYZ, Deputy Head of the Regional Court in Rzesz6w [a signature]

 

I, Marlena Marton-Kargul, a certified translator and court interpreter of English, entered into the register of
certified translators kept hy the Minister of Justice under No. TP/101/14, hereby certify that the above is a true and
exact translation of the original document presetied to me it the Palish language.

Otwock, 8 October 2020 { File No. 480/2020

Page 2.0f 2

 
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APOSTILLE
(Convention de La Haye du 5 octobre 1961)

1. Panstwo/ Country: Rzeczpospolita Polska

Niniejszy dokument urzedowy / This public document
2. podpisany zostat przez Marlena Marton-Kargul

has been-signed-by
3. dzialajacego w charakterze

acting in the capacity of Ttumacz przysiegty

4, zaopatrzony jest w pieczeé/stempel
bears the seal/stamp of Ttumacz przysiegty jezyka
angielskiego

Poswiadezony / Certified ).
.Ww/at Warszawa 6. dnia/ the. 2020-10-15
_ przez / by Ministerstwo Spraw Zagranicznych
_Nr/N°40147/2020,—

. Pieczeé/stempel 10. Podpis:
Fs Seal/stamp: . Signature:
hf

on TomasNy

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